Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 1 of 8 Page ID #:81
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                          UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11 R.Y.L. INC.                                 CASE NO.
                                                2:20−cv−05606−RGK−JC
 12                 Plaintiff(s),
           v.                            STANDING ORDER REGARDING
 13
      SCIENTIFIC GLASS ART, INC., et al. NEWLY ASSIGNED CASES
 14
                  Defendant(s).
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 18
 19         READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE.
 20        This action has been assigned to the calendar of Judge R. Gary Klausner. The
 21   responsibility for the progress of litigation in the Federal Courts falls not only upon
 22   the attorneys in the action, but upon the Court as well. “To secure the just, speedy,
 23   and inexpensive determination of every action,” Federal Rule of Civil Procedure 1,
 24   all counsel are hereby ordered to familiarize themselves with the Federal Rules of

 25   Civil Procedure, particularly Federal Rules of Civil Procedure 16, 26, the Local

 26   Rules of the Central District of California (available on the Court’s website at

 27   www.cacd.uscourts.gov), this Court’s Order for Jury Trial, and this Court’s Order

 28   for Court Trial.


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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 2 of 8 Page ID #:82
 1          UNLESS OTHERWISE ORDERED BY THE COURT, THE

 2    FOLLOWING RULES SHALL APPLY:

 3          1. Service of the Complaint. The Plaintiff(s) shall promptly serve the

 4    Complaint in accordance with Fed. R. Civ. P. 4 and file the proofs of service

 5    pursuant to Local Rule. Any Defendant(s) not timely served shall be dismissed

 6    from the action without prejudice. Any “DOE” or fictitiously-named Defendant(s)

 7    who is not identified and served within 90 days after the case is filed shall be

 8    dismissed pursuant to Federal Rule of Civil Procedure 4(m). Proof of service

 9    of the summons and complaint shall be filed within 5 days of service of said

 10   documents.

 11         2. Removed Actions.      Any answers filed in state court must be refiled

 12   in this Court as a supplement to the petition. Any pending motions must be

 13   re-noticed in accordance with Local Rules. If an action is removed to this Court

 14   that contains a form pleading, i.e., a pleading in which boxes are checked, the party

 15   or parties utilizing the form pleading must file an appropriate pleading with this

 16   Court within thirty (30) days of receipt of the Notice of Removal. The appropriate

 17   pleading referred to must comply with the requirements of Federal Rules of Civil

 18   Procedure, Rules 7, 7.1, 8, 9, 10 and 11.

 19         3. Petitions under 18 U.S.C. Section 983(f). Petitioner(s) shall file and

 20   serve within 3 days of the date of this order an ex parte application requesting a

 21   hearing on the Petition to ensure prompt resolution of the Petition in compliance

 22   with section 983(f)’s deadlines.

 23         4. Presence of Lead Counsel. The attorney attending any proceeding

 24   before this Court, including all status and settlement conferences, must be the lead

 25   trial counsel.

 26         5. Discovery. All discovery matters have been referred to a United States

 27   Magistrate Judge to hear all discovery disputes. (The Magistrate Judge’s initials

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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 3 of 8 Page ID #:83
 1    follow the Judge’s initials next to the case number.) All documents must include

 2    the words “DISCOVERY MATTER” in the caption to ensure proper routing.

 3    Counsel are directed to contact the Magistrate Judge’s Courtroom Deputy Clerk

 4    to schedule matters for hearing. Please do not deliver courtesy copies of these

 5    papers to this Court.

 6         The decision of the Magistrate Judge shall be final, subject to modification

 7    by the District court only where it has been shown that the Magistrate Judge’s

 8    order is clearly erroneous or contrary to law. Any party may file and serve a motion

 9    for review and reconsideration before this Court. The moving party must file and

 10   serve the motion within ten (10) days of service of a written ruling or within ten

 11   (10) days of an oral ruling that the Magistrate Judge states will not be followed by

 12   a written ruling. The motion must specify which portions of the text are clearly

 13   erroneous or contrary to law, and the claim must be supported by points and

 14   authorities. Counsel shall deliver a conformed copy of the moving papers and

 15   responses to the Magistrate Judge’s clerk at the time of filing.

 16        6. Motions. Motions shall be filed and set for hearing in accordance with

 17   Local Rule 6-1, except that this Court hears motions on Mondays commencing at

 18   9:00 a.m. If Monday is a national holiday, this Court will hear motions on the

 19   succeeding Tuesday. If the date the motion was noticed for hearing is not available,

 20   the Court will issue a minute order resetting the date. Any opposition or reply

 21   papers due on a holiday are due the preceding Friday, not the following Tuesday.

 22   Memoranda of Points and Authorities in support of or in opposition to

 23   motions shall not exceed 20 pages. Replies shall not exceed 10 pages. Only

 24   in rare instances and for good cause shown will the Court agree to extend these

 25   page limitations. Pursuant to Local Rule 11-3.1.1, either a proportionally spaced

 26   or monospaced font may be used. A proportionally spaced font must be 14-point

 27   or larger, or as the Court may otherwise order. A monospaced font may not contain

 28   more than 10½ characters per inch.


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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 4 of 8 Page ID #:84
 1          Motions, Oppositions, and Replies shall be electronically filed only.

 2    With the exception of physical exhibits, all documents supporting the motion,

 3    opposition, or reply (e.g., declarations, exhibits, statements of undisputed

 4    or disputed facts, judicial notices) shall also be electronically filed only,

 5    and filed as attachments to the corresponding brief. Furthermore, each

 6    supporting document shall be filed as an individual attachment, such that

 7    each document can be accessed by its own individual link. Each attachment

 8    shall be designated by the title of the document.

 9    Example (Docket Entry for Defendant’s Notice of Motion and Motion for

 10   Summary Judgment):

 11         Document Selection Menu

 12         Select the document you wish to view.

 13         Document Number: 100         23 pages            150 kb

 14
 15         Attachment     Description

 16         1               Separate Statement of Undisputed Facts    10 pages   50 kb

 17         2               Declaration of Bob Smith                  4 pages    30 kb

 18         3               Exhibit A - Purchase Agreement            5 pages    1.2 mb

 19         4               Exhibit B - Jones Deposition              10 pages   0.9 mb

 20         5               Exhibit C - Thomas Declaration            3 pages    23 kb

 21         6               Proposed Order                            2 pages    20 kb

 22   Within the parties’ briefs, any reference to information or evidence contained
 23   in the supporting documents shall contain the documents’ location in the
 24   citation.
 25   Example: Plaintiff and Defendant executed the Purchase Agreement on January 2,
 26   2010. (Purchase Agreement, Smith Decl., Ex. A at p.5.)
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 28   ///

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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 5 of 8 Page ID #:85
 1         Motions for Summary Judgment: Without prior permission from the Court,

 2    no party may file more than one motion pursuant to Fed.R.Civ. P. 56 regardless

 3    of whether such motion is denominated as a motion for summary judgment or

 4    summary adjudication.

 5         Motions to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6): Where a defendant

 6    has filed a Rule 12(b)(6) motion, and in lieu of filing an opposition, if the plaintiff

 7    intends to file an amended complaint, the plaintiff shall file either the Amended

 8    Complaint or a Notice of Intent to File Amended Complaint prior to the date on

 9    which the other than opposition is due. Failure to do so may result in sanctions.

 10        7. Motion for Class Certification. For any action purporting to commence

 11   a class action other than an action subject to the Private Securities Litigation

 12   Reform Act of 1995, the plaintiffs must file a Motion for Class Certification no

 13   later than 90 days from the date the complaint was served, unless showing of good

 14   cause has been made.

 15        8. Proposed Orders. Each party filing or opposing a motion or seeking the

 16   determination of any matter (e.g., ex parte applications, stipulations, and general

 17   requests) shall electronically file and lodge a proposed order setting forth the relief

 18   or action sought and a brief statement of the rationale for the decision with

 19   appropriate citations.

 20        9. Preparation of Documents/PDF. Counsel shall adhere to Local Rule

 21   5-4.3.1 with respect to the conversion of all documents to a PDF so that when

 22   a document is electronically filed, it is in the proper size and format that is PDF

 23   searchable.

 24        10.   Telephonic Hearings.       The Court does not permit appearances or

 25   arguments by way of telephone conference calls.

 26        11.   Ex Parte Applications. The Court considers ex parte applications

 27   on the papers and does not usually set these matters for hearing. If a hearing is

 28   necessary, the parties will be notified. Ex parte applications are solely for


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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 6 of 8 Page ID #:86
 1    extraordinary relief and should be used with discretion. Sanctions may be imposed

 2    for misuse of ex parte applications. See Mission Power Engineering Co. v.

 3    Continental Casualty Co., 883 F.Supp. 488 (C.D. Cal. 1995).

 4          Counsel’s attention is directed to the Local Rules. The moving party shall

 5    serve the opposing party and shall notify the opposition that opposing papers must

 6    be filed not later than 3:00 p.m. on the first business day following service. If

 7    counsel does not intend to oppose an ex parte application, he or she must inform

 8    the Courtroom Deputy Clerk at (213) 894-2649.

 9          12.   Continuances. This Court has a strong interest in keeping scheduled

 10   dates certain. Changes in dates are disfavored. Trial dates set by the Court are firm

 11   and will rarely be changed. Therefore, a stipulation to continue the date of any

 12   matter before this Court must be supported by a sufficient basis that demonstrates

 13   good cause why the change in the date is essential. Without such compelling

 14   factual support, stipulations continuing dates set by this Court will not be approved.

 15   Counsel requesting a continuance must file a stipulation and lodge a proposed

 16   order including a detailed declaration of the grounds for the requested continuance

 17   or extension of time. See Local Rules. Failure to comply with the Local Rules and

 18   this Order will result in rejection of the request without further notice to the parties.

 19   Proposed stipulations extending scheduling dates do not become effective unless

 20   and until this Court so orders. Counsel wishing to know whether a stipulation has

 21   been signed shall comply with the applicable Local Rule.

 22         13.   Communications with Chambers. Counsel shall not attempt to

 23   contact the Court or its staff by telephone or by any other ex parte means. Counsel

 24   may contact the Courtroom Deputy Clerk with appropriate inquiries only. Counsel

 25   shall not contact the Courtroom Deputy regarding status of ruling on motions, ex

 26   parte applications or stipulations. Counsel shall not contact the Court to ask if

 27   a matter is going forward. Notice will be given if the matter is taken off calendar.

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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 7 of 8 Page ID #:87
 1          14.   Order Setting Scheduling Conference. Pursuant to Federal Rule

 2    of Civil Procedure 16(b), the Court will issue an Order setting a Scheduling

 3    Conference as required by Federal Rule of Civil Procedure 26 and the Local Rules

 4    of this Court. Strict compliance with Federal Rules of Civil Procedure 16 and 26

 5    is required.

 6          15.   Notice of this Order. Counsel for plaintiff or plaintiff (if appearing on

 7    his or her own behalf) shall immediately serve this Order on all parties, including

 8    any new parties to the action. If this case came to the Court by a Petition for

 9    Removal, the removing defendant(s) shall serve this Order on all other parties.

 10         16.   Courtesy Copies. Chambers copies shall be delivered to and placed in

 11   the Judge’s courtesy box, located outside of the Clerk’s office, on the 12th floor of

 12   the Roybal Federal Building, 255 East Temple Street, Los Angeles, by 5:00 p.m. on

 13   the first court date after the filing date. Courtesy copies to be provided as follows:

 14   Civil matters:

 15   Motions and related documents (oppositions, replies, exhibits); Ex parte

 16   applications and related documents (oppositions and exhibits); Joint Rule 26(f)

 17   reports; and All pretrial documents. All exhibits, declarations, etc. to chambers

 18   copies must be tabbed, where applicable. Blue-backs and hole punches are not

 19   required. Chambers copies of under seal documents shall all be placed together

 20   in a manila envelope labeled “UNDER SEAL.”

 21   Criminal matters:

 22   Motions and related documents and exhibits; Plea agreement(s); Sentencing

 23   memoranda; and Objections to the presentence investigation report. All exhibits,

 24   declarations, etc. to chambers copies must be tabbed, where applicable. Blue-backs

 25   and hole punches are not required. Chambers copies of under seal documents shall

 26   all be placed together in a manila envelope labeled “UNDER SEAL.”

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Case 2:20-cv-05606-RGK-JC Document 9 Filed 06/28/20 Page 8 of 8 Page ID #:88
 1            17.   Applications to File Documents Under Seal. For detailed instructions

 2    and information on the procedures for filing documents under seal, please refer

 3    to Local Rule 79-5 Confidential Court Records - Under Seal. With regard to

 4    Under-seal Documents in Non-sealed Civil Cases (L.R. 79-5.2.2), the filing party

 5    shall not provide a chambers or courtesy copy of the Application or any associated

 6    documents. Please bear in mind that all applications must (1) indicate which

 7    portions of the documents to be filed under seal are confidential; and (2) provide

 8    reason(s) as to why the parties’ interest to file the document(s) under seal outweighs

 9    the public’s right to access. If a party submits an application to file under seal

 10   pursuant to a protective order only (i.e., no other reason is given), the Court will

 11   automatically deny the application if the party designating the material as

 12   confidential does not file a declaration pursuant to L.R. 79-5.2.2(b)(i). This

 13   declaration shall be entitled: “DESIGNATING PARTY’S DECLARATION IN

 14   SUPPORT OF APPLICATION TO FILE UNDER SEAL PURSUANT TO

 15   PROTECTIVE ORDER”.

 16
             IT IS SO ORDERED.
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 18 DATED: June 28, 2020
 19                                       R. Gary Klausner
                                          United States District Judge
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 Jan. 2020                                     8
